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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                               (Jointly Administered)
                              Debtors.
                                                               Ref. Docket No. 1123

     ORDER (I) APPROVING SETTLEMENT OF CLAIM OF LIANFEN QIAN AND
(II) LIFTING THE AUTOMATIC STAY, TO THE EXTENT NECESSARY, TO PERMIT
       PAYMENT OF SETTLEMENT AMOUNT BY APPLICABLE INSURANCE

             Upon the motion (the “Motion”)2 of the Boy Scouts of America and Delaware BSA, LLC,

the non-profit corporations that are debtors and debtors in possession in the above-captioned

chapter 11 cases (together, the “Debtors”), for entry of an order (this “Order”), pursuant to sections

105(a) and 362 of the Bankruptcy Code and Bankruptcy Rule 9019, (i) approving the Settlement

of the claim of Lianfen Qian and (ii) lifting the automatic stay, to the extent necessary, to permit

payment of the settlement amount by applicable insurance; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and entry of

this Order being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and the Debtors

having consented to the entry of a final order by this Court under Article III of the United States

Constitution; and venue of this proceeding and the Motion in this District being proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no other


1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, Texas 75038.
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    All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion.
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notice need be provided; and all objections to the Motion, if any, having been withdrawn, resolved

or overruled; and the relief requested in the Motion being in the best interests of the Debtors’

estates, their creditors and other parties in interest; and this Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The Settlement is APPROVED and, to the extent necessary, the automatic stay of

11 U.S.C. § 362(a) shall be lifted for the parties to consummate the Settlement.

        3.      Evanston is authorized to pay the Claimant $150,000 (the “Settlement Payment”)

in full satisfaction of her claim and, upon receipt of the Settlement Payment, the Claimant shall be

deemed to have fully released the Debtors, the Gulf Stream Council, Evanston, and each of their

respective affiliates, employees, volunteers, officers, directors, advisors and agents from any and

all liability relating to the Incident.

        4.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall be immediately effective

and enforceable upon its entry and the Debtors are authorized to take all actions necessary to effectuate

the relief granted in this Order.

        5.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




                                                   2   LAURIE SELBER SILVERSTEIN
      Dated: September 9th, 2020                       UNITED STATES BANKRUPTCY JUDGE
      Wilmington, Delaware
